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                         IN THE UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF THE DISTRICT OF COLUMBIA

________________________________________________
                                                 )
UNITED STATES,                                   )
                                                 )
        v.                                       )   Crim. No. 21cr40
                                                 )   Hon. Trevor McFadden
ROBERT MORSS,                                    )
        Defendant.                               )
________________________________________________)

                DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO
               DEFENDANT’S MOTION TO RECONSIDER PRETRIAL RELEASE

        Comes now Defendant Robert Morss, by counsel, and replies to the government’s

Opposition (Doc 291) to his Motion for Reconsideration of Pretrial Release (Doc 283).

        The government’s Opposition ignores utterly the fundamental premise of

Defendant’s motion. By unilaterally prolonging the pretrial period (i.e., that period

necessary for adequate disclosure of discovery) while simultaneously demanding pretrial

confinement, the government forces Defendant to surrender one of two rights to which he

is constitutionally entitled – his right to discovery and his right not to be punished before

he is convicted.

        Undersigned has found no decision – none rejecting and certainly none endorsing

pretrial confinement – that entailed a scenario where the government had intentionally,

unnecessarily and arbitrarily prolonged the pretrial period while simultaneously

demanding pretrial confinement. The government’s decision in this case to reverse the

normal order of prosecution – opting instead to indict before investigating – has

unavoidably prolonged the pretrial period. The government’s simultaneous insistence on
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pretrial confinement impels Defendant to accept a trial prior to the point at which he will

be adequately prepared to defend.

                                                     Respectfully Submitted,

                                                     ROBERT MORSS
                                                     By Counsel

                                                     _____/s/____________
                                                     John C. Kiyonaga

                                                     600 Cameron Street
                                                     Alexandria, Virginia 22314
                                                     Telephone: (703) 739-0009
                                                     Facsimile: (703) 340-1642
                                                     E-mail: john@johnckiyonaga.com

                                                     Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on May 31, 2022, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System, with consequent service on all parties.
                                                     ____/s/_____________
                                                     John C. Kiyonaga
